
TJOFLAT, Circuit Judge,
specially concurring.
The court declines to consider appellant’s Booker claim on the merits because appellant failed to present the claim in his initial brief on appeal. Binding precedent requires us to disregard the claim for that reason. See United States v. Ardley, 242 F.3d 989, reh’g en banc denied, 273 F.3d 991 (11th Cir.2001), and its progeny, e.g., United States v. Sears, 411 F.3d 1240 (11th Cir.2005). I therefore concur in the court’s judgment. Were we writing on a clean slate, I would, for the reasons I have previously expressed, entertain appellant’s Booker claim on the merits. See United States v. Higdon, 418 F.3d 1136, 1142 (11th Cir.2005).
